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\ 23-03 0

AO 440 (Rev. 06/12) Summons in a Civil Action | . : \ is A O PN)
UNITED STATES DISTRICT COURT

for the

 

Western District of Texas

MICHAEL DAVID JOHNSON

Plaintiff(s)
Vv.

Civil Action No. 1:20-CV-00077

VANCE WELTNER, Individually and COUNTY OF
BASTROP, TEXAS

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Defendant(s)

SUMMONS IN A CIVIL ACTION

  
 

ress) Vance Weltner, 2122 FM 448, Giddings, Texas 78942.
(7

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
| are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: The Law Office of Bobby R. Taylor
1709 E. Martin Luther King Jr. Blvd
Austin, Texas 78702

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

JEANNETTE J. CLACK

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ate:
1/23/2020

   
 

Case 1: 20-04 00077 RP Document? Filed 46320 Page 2 ofa

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No. 1:20-CV-00077

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any) Naccs \ } \‘ ) \AR OY 7

was received by me on (date) \ ~ om (- eo QO -

a I personally served the summons on the individual at (place) A\ Aa. Pir Jas,
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(I I left the summons at the individual’s residence or usual place of abode wih ek

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 [served the summons on (name of individual) , , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
I returned the summons unexecuted because
(1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

a OF

Date: \-AR-AOSo i. whe... Cera.

Server's signature

Priewaa name and title

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Server's address ea) 3 te O ~_

Additional information regarding attempted service, etc:
